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WARNER COLEMAN & GOGGIN

 

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October 24, 2019

 

 

 

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Via ECF USDC oe i
Honorable George B. Daniels t Bs epee ABD Gy FILET
United States District Court Judge 1} 27 4 thee : i
Daniel Patrick Moynihan Wye ‘
United States Courthouse i 2019.
500 Pearl St. ea

 

New York, NY 10007-1312
RE:
Civil No.: 1:19-cv-07218

Our File No.: 12177.00606

Dear Judge Daniels:

GeprecB. Daniels, U.S.D.J.

Dated:

 

 

Jon R, Morgan et, ano v. Easton Diamond Sports, LLC

This office represents the defendant, Easton Diamond Sports, LLC, in connection with the above-
referenced matter. We write, jointly with counsel to Plaintiff, to inform the Court that the parties have reached

a settlement in principle.

The parties respectfully request that the Court dismiss this action with leave to reopen the case in Thirty
(30) days from today’s date if the parties have not submitted their final Notice of Dismissal by such time.

In view of the contemplated settlement, the parties respectfully request the Court adjoum all pending

dates and deadlines, sine die,
We thank Your Honor for your consideration.

Respectfully submitted,

Lvt- 0 ZZ—

Nicholas P. Chrysanthem
NPC:pah

cc: Jonathan Shalom, Esq. (via ECF)

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